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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY



  IN RE: JOHNSON & JOHNSON                      No. 3:16-md-02738-MAS-RLS
  TALCUM POWDER PRODUCTS
                                                Motion Day: TBD
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY                        NOTICE OF MOTION TO
  LITIGATION                                    COMPEL INSPECTION OF DR.
                                                WILLIAM LONGO’S
                                                LABORATORY

                                                ORAL ARGUMENT REQUESTED



         PLEASE TAKE NOTICE that on a date to be determined by the

   parties and the Court, the undersigned counsel, pursuant to Federal Rule of

   Civil Procedure 34(a)(2), will bring Defendants Johnson & Johnson and LLT

   Management LLC (“Defendants”)’s Motion to Compel Inspection of

   William Longo’s Laboratory before this Court. Defendants will ask for entry

   of an order compelling Plaintiffs to make the following available for

   inspection:

           1. All PLM microscopes used by MAS at 3945 Lakefield Ct,
              Suwanee, GA 30024 for its analysis of the materials referenced in
              Defendants’ Requests for Production Nos. 20-24 (dated April 18,
              2024);

           2. MAS’s methodology for preparing the materials referenced in
              Defendants’ Requests for Production Nos. 20-24 (dated April 18,
              2024) for subsequent analysis by PLM for the identification of
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                “chrysotile,” including but not limited to observing in real time
                the preparation of one or more samples of Johnsons Baby Powder
                performed by MAS; and

             3. MAS’s methodology for analyzing the materials referenced in
                Defendants’ Requests for Production Nos. 20-24 (dated April 18,
                2024) for analysis by PLM for the identification of “chrysotile,”
                including but not limited to observing in real time the analyses
                performed by MAS on the samples of Johnsons Baby Powder, as
                well as Defendants’ experts undertaking real time,
                contemporaneous observation of the samples on the same PLM
                equipment used by MAS in which MAS has previously reported,
                and may during the inspection report, observing “chrysotile.”

         Defendants request that oral argument be held in connection with this

   motion.



  Dated: May 21, 2024                          Respectfully submitted,

                                               /s/ Susan M. Sharko
                                               Susan M. Sharko

                                               FAEGRE DRINKER BIDDLE &
                                               REATH LLP

                                               Attorneys for Defendants Johnson &
                                               Johnson and LLT Management, LLC




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